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Case 2:07-cV-00005-E.]L-LI\/|B Document 1-1 Filed 01/04/07 Page 1 of 15

EXHIBIT A

 

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Hubert Van Der i-ieijden, Cariy \/an Der Hiej

Case 2:07-0VMOE¢E:.HJ-lll!a15¢=tDQUGm§HP'lQ&C‘i_‘-*ii‘é¥j 01/04/07 F>e\gcleJ

ROA Report

Case; CV-2006-0002072 Current Jucige: Steve Verby

i-iubert Van Der i-ieijden1 etai. vs. Safeco insurance Company Of America

den vs. Safeco insurance Company Of Amenca

 

Date Code User Judge
12/4/2006 NEWC MORELAND New Case Fiied Steve Verby
|ViORELAi\iD 1 Fiiing'. A'i - Civii Cump|aint, iViore Than $1000 No Steve Verby
PriorAppearance Paid by: Layman, Layrnan &
Robinson Receiptnumber10364599 Dated:
_ 1215/2006 Amount: $88.00 (Check)
COMP MORELAND Compiaint For Breach of Contract, Breach of Steve Verby
` Good»Faith & Fair_Deaiing, Tc§rt of Bad Faith, &
Vioiatio'n of,l.C. 1302 forEngaging in Decepi:ive
Business Practices involving insurance, &
Demanci for .iury Triai
APER iViORELAND Piaintiff: \/an Der i-ieijden, Hubert Appearance Steve Verby
John R Layman
APER i\/|ORELAND Piaintiff: \/an Der Hiejden1 Cariy Appearance John Steve \/erby
R Layman
1215/2006 __ SN|iS |VIORELAND Summons issued Steve Verby
12/14/2006 Si\/lRT iViOREi_AND Summons Returned Steve Verby
RETN MORELAND Return Of Service Steve \/erby
12/21,'2006 DFJT MORELAND Demand For Jury Triai Steve Verby
NOAP MORELAND Notice Of Appearance Steve Verby
NiORELAND Fiiing; i1A ~ Civi| Answer Or Appear. i\/iore Than Steve Verby
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APER MORELAND Defendant: Safeco insurance Company Of Steve Veri:)y

America Appearance Ronaid G i\/iorrison

 

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2 Of 15 `

Case 2:07-cV-OOOQ5‘-`l§.]_L-LI\/|B Document 1-1 Filed 01/011:{07 -Page 3 of 15

Ronald G. l\/Iorrison #6746
Regina M. MeCrea #6845
Morrison & Associates PC
1200 W lronwood Drive, Suite 301
Coeur d’Alene ID 83814
or preferred
1717 S Rustle Suite 212
Spol<ane, Washington 99224
(208) 665-0449 | Fax (509) 624-2065
ldaho State Bar #6746

Attorneys for Defendant Safeco lns Co

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IN TI~IE DISTR.`[CT COURT OF TI-[E FT_RST .TUDICIAL DISTRICT OF
'I`HE SIATE OF IDAHO, ]N AND FOR THB COUNTY OF BONNER

HUBERT VAN DER HEIJDEN, and CAR_LY
VAN DER I~IEIJDEN, husband and Wife

Plaintift`s,

V.

SAFECO MSURANCE CO. OF AMERICA, a
foreign corporation licensed to do business in

Idaho,

Defendant.

 

CASE NO. CV 2006-02072

DEMAND FOR IURY TRIAJ'_,

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COM;E`,S NOW the defendant, by and through its undersigned attorney, and pursuant to
Ru]e 38(1)) of the Idaho Rules of Civil Procedure, does hereby respectn.llly demand a trial by jury

of any issue triable of right by a jury, Which the defendant respectiillly requests to be a jury of

twelve (12) persons

Dated this g day of Deeeinber, 2006.

MOR_RISON 8c ASSOCIATES PC

`.é`§.~i;oNALD G. MORRISON #6745
_ Attorney for Defendant Safeoo _

 

CaSe 2:07-cV-OOO@5-'E.]L-LI\/|B Document 1-1 'Filed 01703_,/07 Page 4 of 15

CERTIFICATE OF TR.ANSMI’I`TAL

"'\
I hereby certify that a true and correct copy of the foregoing Was, on therL'/December, 2006,

[ ] hand delivered
[){l faxed

f ] mailed by first class mail, postage prepaid
to the following

.lolm RLayman , ................................................... Fax (509) 624-2902

Layman Layman & Robinson PLLP
601 S Division Street
Spolcane WA 99202

 

 

Van der Hezjden v Safeco ,
`D`ernand for Ju`ry Trial` -` ` `2`

CaSe‘2:07-cV-OOOO5-E.]L-LI\/|B Document 1-1 Fi|eo| 01/04/07 Page50115

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Ronald G. Morrison #6746 v ‘_;UU' T~{ ‘ o ; ‘ ‘
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1717 S Rustle Suite 212
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Attorneys for Defendant Safeco Ins Co

IN Tl-IE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF
Tl':IE STATE OF IDAHO, ]_N AND FOR THE COUNTY OF BONNER

HUBERT VA_N DER HEI]DEN, and CARLY CASE NO. CV 2006-02072

V_AN DER HEIJDEN, husband and Wife

Plaintiffs, NOTICE OF APPEAR_ANCE

V.

SAFECO INSURANCE CO. OF Al\/JIERICA, a
foreign corporation licensed to do business in

Idaho,

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Defendant. )
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TO: Hubert and Carly Van der Heij der, and
TO: Their attorney of record John R. Layrnan
COMES NOW chald G. Morrison ofMorrison & Associates, P.C. and file this, his
Notice of Appearance as counsel on behalf of the Defendant, Safeco Insurance Cornpany of _`
Amorioo. ' ' ‘ '
The undersigned attorney requests that all pleadings of any nature in this cause be filed
upon the inldersigned attorney at the address herein set out.`

Ronald G. Morrison
Morrison &.Associates P.C.
1717 S Rustle, Suite 212 .
Spokane, WA 99224

 

Case 2:07-cV-OOOO5¥E.]L-LI\/|B Document 1-1 Filed 01[021/07 Page 6 of 15

Dated this ii day oi"December, 2006.

MORRISON & ASSOCIATES PC

 

N.AL.D G. 1\/.IORR1SON 116740'
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.TOHN R. LAYMAN

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110 Walla,ce Avenue

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Spolcane, WA 99202

_(509) 455-8883

(_509) 624-2902 (fax)

Att`orneys for P]aintiffs l

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]_N THE DISTRICT COURT OF 'IHE FIRST IUDICIAL DISTR_`[CT t
OF THE STA.TE OF IDAHO, ]N AND FOR TI-IE COUNT`Y OF BONNE.R

I~IUBER'I` VAN DER HEIJDEN, and `
CARLY V.AN DER. HEI]DEN, husband
~ ' and Wife, '

Plaintiff`s,
vs.
SA.FBCO ]NSUR.ANCE CO. OF
AMERICA, a foreign corporation -

licensed to do business in Idaho,

Defendant.

 

 

CaseNo. gl/' AQQG '-0307?~_

COl\/|_`PLA]NT FOR BRBACH O]:"`
CON”I`RACT, BREACH OF GOOD
FAITH AND FAIR DEAL].NG, TOR'I`
OF BAD_ FAI'.['H, AN`D VIOLATION
OF I.C. § 1302 FOR ENGAGING ]N
DECEPTIVE BUSlNESS PRACTICES
INVOLV]NG ]NSURANCE, AND
DEMAND FOR IURY TRIAL

Fee Category: Al

Plainlii`i`s, HUBERT and CARLY VAN DER I-IE`.IJDEN, husband and
Wife, (hereinafter “Van Der I-Ieijden”) through their attorneys, .To]:xn R. Layman, and

Lay!na.n, Layrnan & Robinson, PLLP, allege the following
I. PARTIES

1.1 ` Plaintiffs live and reside in Bonner County, Ida]:lo. l

ASS\GNED TO STEVE VERBY

COWLAH\TT FO_R DAMAG'ES -1-

DlSTR\GT JUDGE

 

 

 

Case 2:07-cv-00005-E.]L-LI\/|B Document 1-1 Filed 01/04/07 Page 11 of 15

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1.2. ll)efeudant Safeco Iusurance Company cfAruerica (“Safeco” is a
'Washington non-profit corporation licensed with the Idaho State Department of Insurance
to sell insurance to Idaho residents.

u. JURISDICTION AND VENUE

2.1 PlaintiEre-alleges and incorporates Paragraphs 1.1 through 1.2 of the
gomplaint as if fully set forth herein.

2.2 Jurisdiction intbis Court is proper pursuant to I.C. § 1-701 and § 1-'705.

2.3 Venue is proper pursuant to I.C. § 5-404.

]]I. FACTS

3.1 Pla:intiffre-alleges and incorporates Paragraphs 1.1 through 2.3 of the
Cc'ruplajnt as if fully set forth herein.

3.2 011 or about chember of 2000, Hubert and Carly Van Der Heijden
purchased a Quality Crest Horneowners Policy (“Quality Crest Policy"’), policy
number OM2198273, from Safeco.

3.3 Safeco is an insurer as defined by I.C. § 41-103.

3.4 The Quality Crest Policy included guaranteed replacement coverage
and insured a_dwel]ing up t0100% of its replacement costs.

l _ 3.5 Van Der Heij den renewed their homeowner’s policy with Sa:t`eco n'orn
2000 through 2006 b.y paying a yearly premium lt was always represented by
Saf`eco that the renewal adjustments Were based on a careful assessment of Mr. van
der Heijden’s horne’s replacement Value

3.6 On .Tanuary 3, 2000, the Van Der Heijden’s horne was destroyed by a

fire.

COMPLA]NT FOR. DAMAGES -2- 7

 

 

 

 

Case 2:07-cv-OOOO5-E.]L-LI\/|B Document 1-1 Filed 01/04/07 Page 12 of 15
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317 Ou Januar_y 5, 2006, Mr. Van Der Heijden met with Ste've Kienzle, a
representative of Safeco, to give a recorded statement During that meeting Mr.
Kienzle provided Mr. Van Der Heij den with a copy of his existing policy which was
the Quality Crest Homeowners Policy.

3.8 After the ire, Safeco represented i_n a letter on March 6, 2006 that it
had agreed to adjust pursuant to _the Quality Crest Policy CI-IO-403 5 /IOEP 2/00
fonn. However, Sat`eco was doing so with exceptions: “we will not provide
guaranteed replacement cost to extended dwelling coverage”.

_ 3.9 lu 2002 Safeco purportedly changed the Van Der I-Ieijden’s Quality Cr'est
Policy to a Quality-Plus Homeowner’s Policy (“Quality Plus Policy”) which
eliminated guaranteed replacement and extended dwelling coverage.

l 3.10 On October 29, 2002, Safeco sent a renewal letter to the Van Der

-Heijdens, which stated “it is time.to renew your Quality~Plus Homeowner’s policy.”

3.11 Safeco did not send the Quality Plus Policy to the Van Der Heijdens
when their homeowner’s policy purportedly changed Safeco did not send the
Quality Plus Policy to the Van Der .'[-Ieijden’s prior to January 3, 2006.

3.12' The cost to replace the Van Der Heijden’s home is approximately
$1,862,897.70. l

3.13 Safeco has tendered payment for replacing the Van Der Heij den’s home in
the amount of$1,154,600.00, refusing to pay the guaranteed replacement cost.

3.14 Safeco refuses to provide other coverage, including but not limited to “loss

ofuse” in accordance with the Quality Crest Policy.

COMPLA]NT FOR DAMAGES -3-

 

 

 

Case 2:07-cv-OOOO5-E.]L-LI\/|B Document1-1 Filed 01/04/07 Page 13 of 15 '
tm `j) ' ” l

v 'IV. BRBACH OF CONRACT AND BREACH OF GOOD FAI'I'H AND
FAIR`DEALING

4.1 Plaintiftre-alleges and incorporates Paragraphs 1.1 through 3.16 of the
Complaint as if fully set forth herein
4.24 Van Der Heijden’s homeowner’s policy, the Quality Crest Policy,
_ provided “guaranteed” replacement coverage for their dwelling

4.3 Sat`eco violated I.C. § 41~1824(1) by failing to deliver the Quality Plus

Policy to the Van _'Der I-Ieij dens.

4.4 Safeco deceptively sent renewal letters to the Van Der I-Ieijdens claiming
that it was renewing its homeowner’s policy based upon careful assessment of the home’s
replacement value, and then failed to deliver the Quality Plus Homeowners Policy, the
policy it claims governs this transaction

_4.5 Safeco’s acts and omissions did not create anew homeowners policy
andon it created an ambiguous contract with the Van Der Heij dens.

4.6 Safeco has a duty under Idaho law to perform a contract with the Van Der '
nade is good faith ana to deal mar them fairly

4.7 Safeco breached its contract with Van Der Heijden by refusing to honor
the Quality Crest Policy.

4.8 Safeco has not acted fairly and in good faith in performing its contract
with the Van Der Heij dens.

4.9 The Van Der Heijdens have sustained damages exceeding $700,000.00.

4.10 The Van Der I-Ieij dens have sustained incidental and consequential

damages by Safeco’s failure to honor the Quality Crest Policy.

COMPLAJNT FOR DAMAGBS -4-

 

 

 

Case 2:07-cv-OOOO5-E.]L-LI\/|B Document 1-1 Filed 01/04/07 Page 14 ot 15

 

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4.11 The Van Der Heijdens are entitled to reasonable attorneys’ .fees and costs

for enforcing the agreement against Safeco.

V. TORT OF BAD FAITH AND DBCEPTIVE BUSINESS PR.ACTICES

5 .1 Plaiutiffre~alleges and incorporates Paragraphs 1.1 through 4.11 of the
Complaint as if fully set forth herein.

5 .2 l Safeco has acted deceptiver by purportedly changing the Quality Crest
Po]icy to the Quality Plus 'Policy and not delivering the policy to them.

5.3 Safeco deceptiver sent renewal letters to the Van Der Heij dens claiming
that it was renewing its homeowner’s policy based upon careful assessment of the home’s
replacement value, and then failed to deliver the.QuaJity Plus Homeowners Po]icy, the
policy it claims governs this transaction

5.4 Safeco and its agents’ acts and omissions are misrepresentations as to the
terms and coverage, and now it is acting unfairly by refusing to pay the claim in
accordance with the Quality Crest Policy.

5 .5 Safeco and its agents’ acts and omissions are in violation of I.C. § 41-
1302, and § 41`-1329 and the Director for the Idaho State Department of Insurance could,
among other things, impose an administrative penalty not to exceed $10,`000.00 in
accordance with I.C. § 41»1329A.

5 .6 Safeco’s rentsal to pay the claim to the Van Der Heijdens in accordance
' with the Quality Crest Policy is intentional and unreasonable

5.7_ Safeco’s intentional and unreasonable denial and delay in payment of this

claim is in bad faith.

COMPLAINT FOR DAMAGES -5-

 

 

 

Case 2:07-cv-OOOO5-E.]L-LI\/|B Document1-1 Filed 01_{04/07 Page 15 ot 15
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5.8 The Van Der Heijdens have been damaged by Safeco’s acts and omissions in an

amount to be proven at trial.
VI. PRAY'ER FOR B_ELIEF
Plaintiffs request this Court grant them the following relief:
1. 1~"` or all damages proven at trial, including incidental and consequential

damages flowing from Safeco’s breach of contract and/or bad faith in performing the

contract

2. For an award of reasonable attorneys’ fees and costs, pursuant to contract
and otherudse permitted by law and equity.
` 3. Plaintiffs demand a trial by jury on all issues.
4. Plaintiffs reserve the right to amend the complaint to request an award of

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5 . l For such other further relief the Court deems just and equitable

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to /LAYMKN, tss cszs
Atto sys for Plaintiffs

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